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CRIMINAL COMPLAINT
(Electronically Submitted)

 

DISTRICT of ARIZONA

United States District Court

 

United States of America DOCKET NO.

 

v. MAGISTRATE'S CASE NO,
Joseph Quiroz, Jr.

DOB: 2001; United States Citizen a4 0868 i ae

 

 

 

Complaint for violation of Title 18, United States Code, Section 554(a)

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On or about June 27, 2021, in the District of Arizona, Joseph Quiroz, Jr. knowingly and fraudulently, exported and
sent from the United States, and attempted to export and send from the United States, any merchandjse, artigfe, or
object contrary to any law or regulation of the United States, and received, concealed, bought, sold, and in any manner
facilitated the transportation, concealment, and sale of such merchandise, article or object, that is: one Glock model
19 GEN 5 9mm caliber pistol and two Ruger model Security 9 9mm caliber pistols; knowing the same to be intended
for exportation contrary to any law or regulation of the United States, to wit: Title 50, United States Code, Section
4819; Title 15, Code of Federal Regulations, Part 774; and Title 15, Code of Federal Regulations, Part 738; in violation
of Title 18, United States Code, Section 554(a).

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On June 27, 2021, Joseph QUIROZ, Jr. attempted to exit the United States and enter the Republic of Mexico through
the pedestrian lane of the Port of Entry in Nogales, Arizona. When questioned, QUIROZ told United States Customs
and Border Protection Contraband Enforcement officers that he was not traveling with any weapons. Officers
attempted to conduct an outbound inspection of QUIROZ and informed him they would be checking for weapons.
QUIROZ then physically pushed an officer away and ran north from the outbound inspection area and out of the port
of entry. QUIROZ tripped and fell on the sidewalk and was subsequently apprehended by officers. As he was being
detained, QUIROZ stated to the officers, “I have three guns,” and “I’m sorry, I know what I did was wrong.”

When searching QUIROZ, officers found three firearms concealed under his clothes: one Glock model 19 GEN 5
9mm caliber pistol and two Ruger medel Security 9 9mm caliber pistols.

The three firearms QURIOZ attempted to smuggle into Mexico qualify as United States Commerce Control List items
and therefore are prohibited by law for export from the United States into Mexico without a valid license, QUIROZ
did not have a license or any other lawful authority to export these firearms from the United States into Mexico.

 

MATERIAL WITNESSES IN RELATION TO THE CHARGE; N/A

 

 

 

 

  

DETENTION REQUESTED SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the foregoing is MOLLYRAE Digitally signed by MOLLYRAE
OZZENS
true and correct to the best of my knowledge. by ANGELA COZZENS . Date: 2021.06.28 14:57:50 -07°00'
ANGELA WOOLRIDGE woonrioce
- Date: 2021.06.28 10:14:51 -07'00' OFFICIAL TITLE
AUTHORIZED AUSA Angela W. Woolridge HSI Special Agent Molly Cozzens
Sworn by telephone _x Ag on E.
SIGNATURE OF MAGISTRATE JUDGE® DATE ry
June 78, 2021

 

 

 

 
